                    Case: 25-1560
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                                                No. 25-1560

                       Atlas Data Privacy Corp., et al.   vs. Quantarium Alliance, LLC et al.

                                            ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Quantarium Alliance, LLC and Quantarium Group, LLC
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)            ____ Appellant(s)               ____ Intervenor(s)

         ____ Respondent(s)            ____ Appellee(s)                ____ Amicus Curiae

(Type or Print) Counsel’s Name Clair E. Wischusen
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SIGNATURE OF COUNSEL: /s/ Clair E. Wischusen

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
